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 1   Katessa M. Charles (SBN 146922)
     JACKSON LEWIS P.C.
 2   725 South Figueroa Street, Suite 2500
     Los Angeles, California 90017-5408
 3   Telephone: (213) 689-0404
     Facsimile: (213) 689-0430
 4   Katessa.Charles@jacksonlewis.com
 5   Stephanie Joy M. Tanada (SBN 257769)
     JACKSON LEWIS P.C.
 6   200 Spectrum Center Drive, Suite 500
     Irvine, California 92618
 7   Telephone: (949) 885-1360
     Facsimile: (949) 885-1380
 8   Stephanie.Tanada@jacksonlewis.com
 9   Attorneys for Defendant
     DURHAM SCHOOL SERVICES, L.P.
10

11                              UNITED STATES DISTRICT COURT
12                             CENTRAL DISTRICT OF CALIFORNIA
13   SAMARA WILHITE,                         CASE NO.: 5:22-cv-270
14               Plaintiffs,                 [San Bernardino Superior Court Case No.
15                                           CIVSB2130586]
           vs.
16   DURHAM SCHOOL SERVICES, L.P.;           DECLARATION OF STEPHANIE J.
     and DOES 1 through 50, inclusive,       TAÑADA IN SUPPORT OF DEFENDANT
17                                           DURHAM SCHOOL SERVICES, L.P.’S
                                             NOTICE OF REMOVAL OF ACTION
18               Defendants.                 TO THE UNITED STATES DISTRICT
                                             COURT FOR THE CENTRAL DISTRICT
19                                           OF CALIFORNIA PURSUANT TO 28
                                             U.S.C. §§ 1332, 1441, AND 1446
20                                           (DIVERSITY)
21                                           [Filed concurrently with the Civil Cover
                                             Sheet; Notice of Removal; Declaration of
22
                                             Carrie Steben in Support of Removal;
23                                           Corporate Disclosure Statement; Notice of
24
                                             Interested Parties; and Notice of Related
                                             Cases]
25
                                             Complaint Filed: October 22, 2021
26                                           Trial Date:         Not Set
27

28

                                             1
                                                       DECLARATION OF STEPHANIE J. TAÑADA
                                                                  ISO NOTICE OF REMOVAL
       Case 5:22-cv-00270 Document 1-2 Filed 02/11/22 Page 2 of 49 Page ID #:18


 1           I, Stephanie J. Tañada, declare and state as follows:
 2           1.    I am an attorney at the law firm, Jackson Lewis P.C., counsel of record for
 3   Defendant DURHAM SCHOOL SERVICES, L.P. (“Durham” or “Defendant”), and I am
 4   an attorney responsible for representing Defendant in this matter. I make this declaration
 5   in support of Defendant’s Notice of Removal.
 6           2.    The following is based on my personal knowledge, and if called as a witness,
 7   I could and would competently testify to the facts contained herein.
 8           3.    On October 22, 2021, Plaintiff SAMARA WILHITE (“Plaintiff”) filed a civil
 9   Complaint against the named Defendant in the Superior Court of the State of California, in
10   and for the County of San Bernardino, entitled SAMARA WILHITE v. DURHAM
11   SCHOOL SERVICES L.P.; and DOES 1 through 50, inclusive (Case No. CIVSB
12   2130586). (Tañada Decl. ¶ 3.). True and correct copies of the Complaint and Summons
13   are attached as Exhibits A and B, respectively.
14           4.    Plaintiff served Defendant with the Summons and Complaint on January 13,
15   2022.
16                 a. Attached as Exhibits C, D and E are true and correct copies of a Civil Case
17                    Cover Sheet, a Notice of Case Assignment, and the Notice of Trial Setting
18                    Conference, respectively, that were also served on Defendant on January
19                    13, 2022.
20                 b. Attached as Exhibit F is a true and correct copy of the Notice of
21                    Acknowledgement and Receipt of Service for Defendant Durham, served
22                    on Plaintiff’s counsel on January 13, 2022, accepting service on behalf of
23                    Defendant Durham.
24           5.    On January 7, 2022, Defendant filed an Answer to the Complaint in state
25   court, making a general denial as permitted by California Code of Civil Procedure section
26   431.30(d) and asserting various affirmative defenses on behalf of Defendant Durham. A
27   true and correct copy of the Answer is attached as Exhibit G.
28   ///
                                                    2
                                                              DECLARATION OF STEPHANIE J. TAÑADA
                                                                         ISO NOTICE OF REMOVAL
       Case 5:22-cv-00270 Document 1-2 Filed 02/11/22 Page 3 of 49 Page ID #:19


 1         6.     As of the date of this Declaration, the attached Exhibits “A” through “G”
 2   constitute all of the pleadings and papers received and/or filed by Defendant, and/or
 3   currently on file, in this matter, and no further proceedings have occurred in the state court.
 4         I declare under penalty of perjury that the foregoing is true and correct.
 5         Executed this 11th day of February, 2022 at Redlands, California.
 6

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 8
                                                    Stephanie J. Tañada
 9                                                  State Bar No. 257769
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                                                    3
                                                              DECLARATION OF STEPHANIE J. TAÑADA
                                                                         ISO NOTICE OF REMOVAL
Case 5:22-cv-00270 Document 1-2 Filed 02/11/22 Page 4 of 49 Page ID #:20




                     EXHIBIT A
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     Michael J. Jaurigue (SBN 208123)
     S. Sean Shahabi (SBN 204710)
     Barbara DuVan-Clarke (SBN 259268)
     JAURIGUE LAW GROUP
     300 West Glenoaks Boulevard. Suite 300
     Glendale, California 9 202   l



     Telephone: 818.630.7280
     Facsimile: 888.879.1697
     service@jlglawyers.com                                                                                                   of     “w (-1...
     michael@jlglawycrs.com                                                                                                       h}s‘Jézr'y‘i/H}

     sean@jlglawyers.com
     barbara@jlglawyers.c0m



     Attorneys for   PLAINTIFF
     SAMARA WILHITE

10
                                 SUPERIOR COURT FOR THE STATE OF CALIFORNIA
ll
                                             COUNTY OF SAN BERNARDINO

                                                                                  .fClvsB.   ‘2   .


                                                                                                      1:        o.   5.3 s
     'SAMARAWILHJTEj                                                "CaSe'No';                             3,
                                                                                                                             r


             V.
                     __
                          VPLAm'nFF,‘
                             ~
                                                                     COMPLAINT FOR DAMAGES

                                                                     l.   DISCRIMINATION IN VIOLATION OF
                                                                                                                     6Q   M   I




      DURHAM SCHOOL                   SERVICES,   L.P.;   and
                                                                          CALIFORNIA GOVERNMENT CODE
     DOES    l   through 50, inclusive.
                                                                          SECTION 12940(a) OF THE FAIR
                                                                          EMPLOYMENT AND HOUSING ACT
                          DEFENDAN'I‘S.                                   (“FEHA”) (SEXUAL ORIENTATION);
                                                                          RETALIATION 1N VIOLATION 0F THE
                                                                          FEHA, SECTION 1294001), AND a)(l)
                                                                          (SEXUAL ORIENTATION);
                                                                          FAILURE TO DO EVERYTHING
                                                                          REASONABLY NECESSARY TO
                                                                          PREVENT OR CORRECT
                                                                          DISCRIMINATION AND/OR
                                                                          RETALIATION FROM OCCURRING IN
                                                                          VIOLATION OF SECTION 12940 (j), (k);
                                                                          VIOLATION OF LABOR CODE
                                                                          SECTIONS 1102.5;
                                                                          WRONGFUL TERMINATION IN
                                                                          VIOLATION OF PUBLIC POLICY;
                                                                          FAILURE T0 PROVIDE PERSONNEL
                                                                          RECORDS UPON REQUEST, CAL. LAB.
                                                                          CODE   § 1198.5;




                                                                COMPLAINT
   Case 5:22-cv-00270 Document 1-2 Filed 02/11/22 Page 6 of 49 Page ID #:22

                                                                                ‘




                                                                                                                                CIVSB 2130586
                                                                                               7.         FAILURE TO PROVIDE EMPLOYMENT
                                                                                                          RECORDS UPON REQUEST, CAL. LAB.
                                                                                                          CODE       §226


                                                                                              DEMAND FOR JURY TRIAL
              PLAINTIFF                 SAMARA                  WILHITE              (“PLAINTIFF").                       alleges         and   complains    against

 DEFENDANIS DURHAM SCHOOI SERVICFS                                                            l.   ...P    and     DOES   I   thxouoh 50 inclusive (heleinafter

 refened to collectively as                      ‘DEFENDANTS               )as follows:

                                                        I.        JURISDICTION AND VENUE
              1.         This Court has personal jurisdiction over each 0fthe                                                 DEFENDANTS            because they are
                                                                                                                                                                  r


 i'gsidents of-aﬁd/or'doing business in‘the State
                                                                            ofCalifornia                      in   t'héCQim‘tyof San Bernardino.

              2.         Venue         is   proper      in this   Court because the claims arose                               in the    County ofSan Bernardino
where PLAINTIFF worked                           for   DEFENDANTS.
              3.         PLAINTIFF               at all      times relevant herein was a resident ofthe County ofSan Bernardino.

              4.       .‘i'Th‘e'amoimt'in                                                                                                                              I




                                                       controversy    iii   this matter ex'ceeds'th'e'sur'n                         0f $25 000.00'-eXclLISive 0f

intelest costs          and fees and              PLAINTIFF         s_eeks          permanent injunctive                  relief prohibiting        DEFENDANTS
                                                                                                                                                '      .


unfair business plactices.


          5.
                   '
                        Pl.   AINTIFF             has exhausted       all       administrative requirements                         f0]    ploceeding with claims

underthe Fair Employment and Housing Act(                                   HFEHA )                       codified at California         Government Code    section

12960, er seq, by timely ﬁling administrative complaints with the Department of Fair
                                                                                     Employment and
Housing (“DFEH”) and receiving a Right-to-Sue                                           Letter.            PLAINTIFF          ﬁled the operative administrative

complaint with            DFEH          on 0r around October 21. 2021.                                       A     true and correct        copy 0f PLAINTIFF’S

administrative complaint                    is   attached hereto as Exhibit                                PLAINTIFF          received a Notice
                                                                                                   l.                                               ofCase Closure
and Right-to-Sue              letter   dated October 21, 202               l.       A   True and correct copy ofPLAINTIFF’S Right-to-Sue

Letter   is   attached hereto as Exhibit 2.


                                                                     II.                PARTIES
          6.            DEFENDANTS                     employed PLAINTIFF and exercised control over PLAINTIFF’S wages,

hours, and working conditions.


         7.             DEFENDANT DURHAM SCHOOLS SERVICES,                                                                    LP.   (hereinafter     “EMPLOYER
DEFENDANT”)               at all   times relevant herein. was and                             is     conducting business            in   the State OfCalifornia, in


                                                                                          7


                                                                           COMPLAINT
      Case 5:22-cv-00270 Document 1-2 Filed 02/11/22 Page 7 of 49 Page ID #:23



                                                                                                                             CIVSB 2130535
 the   County 0f San Bernardino                            at   I355 South East            St.,      San Bernardino          CA     92408.

             8.          At   all   limes relevant herein,                    PLAINTIFF was employed by DEFENDANTS                                          in   the    County
 0f San Bernardino, California                             in facilities      located at 1355 South East St, San Bernardino                                 CA   92408.

             9.          The     true      names and              capacities ofthe                  DEFENDANTS               named        herein as       DOES      1   thrOUOh

 50 inclusive whether individual corponate associate 0r othelwise, ale unknown
                                                                                                                                                    t0    PLAINIIH who
theletore sues such              DEFENDANTS                        by    fictitious        names pmsuant              t0    Calitomia Code 0f Civil Procedure

section 474.             PLAINTIFF               is    informed and believes that                       all   0fthe Doe             DEFENDANTS               are California

residents.         PLAINTIFF              will   amend           this   Complaint          to       show such      true   names and        capacities      when    they have
                                            I




beendétermined.

             10.         PLAINTIFF                is        informed and believes that                        at    all   times relevant herein. each 0f the

DEFENDANTS                 designated, including                        Does     l    through 50, was the agent, managing                                 aoient, principal.


owner partner             ioint ventuner                   Ieplesentative, manage], selvant                         employee and/or co— conspirator                     0f each

Iofthe other        DEFENDANTS                        and was       at all     times mentioned. herein                    'acting   withih the cou13e         an'd scop'e     of   .
                                                                                                                                                                                       '.
                                                                                                                                                                                            '.




said   agency and employment and                                that all acts 0r       omissions alleged helein wele duly committed with the

latihcation.           knovxledoe               permission              encouragement,                  authorization          and        consent         of each       01   the

DEFENDANTS                 designated            hcg‘ein.


         11.             PLAINTIFF               is    informed and believes and thereon alleges that                                    at all   relevant timcs each 0f

the    DEFENDANTS                was       the integrated enterprise. joint                           employer 0f PLAINTIFF and was engaged with

some    0r   all   0fthe other            DEFENDANTS                     in   ajoint enterprise for proﬁt, and bore such Other relationships

t0   some     0r   all   0f the other             DEFENDANTS                    so as to be liable for the conduct of them.                                   PLAINTIFF
performed services for each and every one 0f                                               DEFENDANTS.                     and      t0   the      mutual beneﬁt of           all


DEFENDANTS,                and      all    DEFENDANTS                      shared control 0F              PLAINTIFF              as employers. either directly 0r

indirectly,       and Ofthe manner                    in   which    DEFENDANTS‘                       business      was conducted.

         12.             PLAINTIFF               is    funher informed and believes and thereon alleges that                                        all   DEFENDANTS
acted pursuant to and within the scope OFthe relationships alleged above, that                                                            all     DEFENDANTS knew
0r should have           known       about, authorized, ratiﬁed, adopted. approved, controlled, aided and abetted thc

conduct 0f         all   other      DEFENDANTS                      and that         all   DEFENDANTS                     acted pursuant t0 a conspiracy and

agreement         t0   do the things alleged herein.


                                                                                                q
                                                                                             J

                                                                                COMPLAINT
       Case 5:22-cv-00270 Document 1-2 Filed 02/11/22 Page 8 of 49 Page ID #:24



                                                                                                    CIVSB'2130586
                I3.     PLAINTIFF makes           the allegations in this complaint without
                                                                                            any admission that, as t0 any
     particular allegation,        PLAINTIFF      bears the burden ofpleading. proof. 0r persuasion,
                                                                                                     and                        PLAINTIFF
     reserves   all   ofPLAINTIFF’s         rights to plead in the alternative.


            III.        FACTUAL ALLEGATIONS COMMON TO ALL CAUSES OF ACTION
             l4.        EMPLOYER DEFENDANT hired PLAINT H-F as a bus dlivel in 01 around 20] O.                                       and she
 '




     was then plomoted        t0 the position 0f dispatcher      sometime     in 0r   mound 2016
             15.        In 0r     around January 2018, PLAINTIFF, a woman. began dating one 0f
                                                                                               her coworkers.

     Lupe Chavez, who        is   also a   woman.

            16L        .One .Of        'PLAINTIFF’S.         supervisor‘é,    VMA'TTHEW .'_CEREGHINO                           f(hereinaf‘ter'

     “CEREGHINO”),           learned 0f     PLAINTIFF’S      relationship with    Lupe Chavez sometime                  thereafter in 201     8.

 Only     after learning          0f PLAINTIFF and Lupe Chavez’s same-sex relationship.                       CEREGHINO                 began

 singling       PLAINTIFF          out and began treating        PLAINTIFF        less   favorably than other coworkers by

 subje'ctingzPLAINT‘IFF to-'rbutihe harassment; uﬁdue-‘sémfiny 0f                      PLA INTIFFS-wo'rk'pe'rfofmﬁnce;                      and    -   3




othel tegular and Impropex behavior                  CEREGHINO        directed towalds    PLAINTIFF.
                                                                                                                    _




            l7.        The   direct harassment included egregious              examples such         as in   late       2018     soon aﬁel

 learning    of‘PLAINTIFF and Lupe Chavez‘s                relationship.     CEREGHINO         §r'cllcd at   PLAINTIFF           in   front   0f

all    0f PLAINTIFF‘S colleagues and called                   PLAINTIFF       “stupid.“    PLAINTIFF had                 not 'expericnced

treatment such as this until after            CEREGHINO        learned of    PLAINTIFF‘S same-sex             relationship.

            18.        Additionally, soon after       CEREGHINO           learned 0f PLAIN'I‘IFF'S same-sex relationship,

CEREGHINO              increased     PLAINTIFF’S work-load            drastically. both in c0111parison with               PLAINTIFF’S
own workload            prior t0    CEREGHINO         ﬁnding out about PLAINTIFF‘S same-sex                    relationship.          and     in


comparison with coworkers similarly situated                     to   PLAINTIFF        after   CEREGHINO                found out about

PLAINTIFF’S same-sex                 relationship.

           19.         Forexample,         CEREGHINO would schedule PLAINTIFF t0 open DEFENDANTS’                                     facility

by herself, a duty that was typically handled by up t0 three 0r four employees. This included unlocking

the building, turning 0n computers, collecting and preparing the routes
                                                                        sheets for bus drivers. answering

the phones. getting coverage for drivers               who   called offthat day and passing out keys Io drivers.                       These

tasks. in total.       were not designed        to be handled    by a single employee          a1   one time. but         DEFENDANT

                                                                      4

                                                             COMPLAINT
          Case 5:22-cv-00270 Document 1-2 Filed 02/11/22 Page 9 of 49 Page ID #:25



                                                                                                                         CIVSB 2130585
      CEREGHINO                 assigned        them    t0     PLAINTIFF anyway.                                 only   after    CEREGHINO           learned   about
      PLAINTIFF’S same—sex                 relationship.


                  20.         As an example of some of                   the unfair scrutiny and pretextual discipline                               CEREGHINO
      directed at       PLAINTIFF         after he learned           OH’LAINFI‘IFF‘S same~sex relationship,                              in   September 01°20]    9,

      0n information and               belief,    CEREGIIINO             instructed                     Kathy Bourland. another one of PLAINTIFF’S

      supervisbrs, t0 write            PLAINTIFF up            for failing Io        shdw up                   for   PLAINTIFF’S     shift despite the faci that
                                                                                                                                                                       '




     PLAINTIFF had                  Obtained prior approval from Ms. Bourland t0 take the day                                        off.     CEREGHINO        then

     instructed         Ms. Bourland      t0     make   the write-up a "ﬁnal warning" despite the fact that                                   PLAINTIFF had no
                                                          '                     I                                                                I
                                                                                              I




     prior-writefups.


                 2].          PLAINTIFF          reported      CEREGHINO‘S                          treatment 0f        PLAINTIFF       t0    Human     Resources.

     PLAINTIFF               also    contacted    Human          Resources and                          left   messages to follow up 0n              PLAINTIFFS
     complaints.
             I




                 '22.        r-AﬁerPLAINTIFF
                                                                                                                                                                               V


                         .
                                                         did ndt he'ar-from Ihe’                         Human       R'esdurces réﬁr'esentaﬁi/es      PLAINTIFF.       .
                                                                                                                                                                           '




-
     initially    contacted         PLAINTIFF emailed                hiuhel level         human                lcsourccs representatives legalding ohgoing

     complaints regalding               CEREGI HNO               s    harassment and discrimination of PLAINTIFF.                                       Plaintiff s

     complaints were ignored by                  DEFENDANTS              21nd       nothing was ever done                   in   response.

                 23.         Sometime      in   0r around late October 20                 I
                                                                                                  '9.
                                                                                                        CEREGHINO claimed to have received an email
     from the transpoﬁation depanment purportedly reponing                                                that   PLAINTIFF had       a bad attitude and placed

     PLAINTIFF 0n             administrative leave pending an investigation.

                 24.         About one week             later.       0n 0r around October 31. 2019,                              DEFENDANTS            terminated

    PLAINTIFF’S employment.

                 25.         PLAINTIFF was             n01 terminated for any legitimate reason, but because 0f PLAIN'FIFF’S

    sexual       orientation/perceived            sexual        orientation,         and                 because      PLAINTIFF complained             t0   Human
    Resources about            how CEREGHINO                  treated her.   all in               violation Ofthe law.

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                                                                         COMPLAINT
      Case 5:22-cv-00270 Document 1-2 Filed 02/11/22 Page 10 of 49 Page ID #:26




                                                                                                                               CiVSB 2130586
                                                                     FIRST CAUSE OF ACTION

                                                          DISCRIMINATION                          IN   VIOLATION OF
                               GOVERNMENT CODE §                             12940(a)         [FEHA] (SEXUAL ORIENTATION)

                               (By    PLAINTIFF As                 Against        EMPLOYER DEFENDANT and                                      Docs   l   — 50)

                     26.         PLAIN        I   lFF helebv mconporales by reference each and evely palaoraph
                                                                                                               of                                               this   complaint
  as   if       fully set forth hcncin             by reference

                     27.         At   all   times herein mentioned the Fair                       Employment and Housing Act (“FEHA"                               hereinafter)

  was       in full          force and effect and were binding 0n                       EMPLOYER DEFENDANT since                                   they employed           more
            '




  than          ﬁve          empl'oy'ees.         TheSe     '


                                                                statutes    requiréd         'the      EMPLOYER DEFENDANT                                 t'o
                                                                                                                                                                 refrain    from
 discriminating against any employee 0n the basis 0ftheir gender.

                     28.        During PLAIN'I‘IFF’S employment.                              EMPLOYER DEFENDANT.                                through their owners,

 supervisors. managers. and employees have engaged in intentional
                                                                  actions that resulted in                                                                        PLAINTIFF
                                                                                                                       '

".bein'g' fr'ea’ted‘l‘e‘ss'vfavorab'ly
                                                     beéaﬁsecofher               s'ex'ual   oriehtationﬁ         --




                _
                    29.         PLAIN TIFF           S pxotectcd status under the                      FEHA           ls   PLAINTIFF      s    sexual Qrientation

                    30.         The        DFFL NDANTS knew                          penceived          and/or             believed     that    PLAINTIFF had                the

 afbrcmemioned protected                           status. described             hereinabove.

                    3   J.      PLAINTIFF            believes and thereon alleges that her sexual orientation                                    was     a substantial and

 motivating factor                    in    the   EMPLOYER DEFENDANT’S                                  discrimination against her. including but not

 limited to her termination.


                    32.         As    a     proximate result 0f the                    EMPLOYER DEFENDANT’S                                     willful,        knowing and
intentional                  discrimination against                PLAINTIFF. PLAINTIFF has                                 sustained and continues 10 sustain

substantial losses in earnings and other                               employment beneﬁts.

                    33.        As     a     proximate result 0f the                   EMPLOYER DEFENDANT’S                                     willful,     knowing. and
intentional discrimination against                                PLAINTIFF, she has                   suffered and continues t0 suffer humiliation.

emotional distress. and pain and anguish,                                  all    t0 her    damage      in   a        sum according       l0 proof.

                    34.        In    doing tho acts herein alleged.                         EMPLOYER DEFENDANT                                 acted despicably. with

Oppression. fraud. malice.                        21nd in       conscious disregard           ofPLAlNTlFF’S                   rights.   Accordingly,            EMPLOYER
///




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                                                                                   COMPLAINT
           Case 5:22-cv-00270 Document 1-2 Filed 02/11/22 Page 11 of 49 Page ID #:27




                                                                                                         CIVSB 2130586
           DEFENDANT               is    liable t0     PLAINTIFF        for      exemplary damages appropriate                    t0 punish         and make an
IQ
       example          ofEMPLOYER DEFENDANT                           in   an   amount according       t0   proofat     trial.


                   35.         The above-described                acts and conduct        by   EMPLOYER DEFENDANT proximately caused
       PLAINTIFF damages and                         injury in an   amount    t0 be   proven    at trial. Plaintiffis entitled t0             recover economic

       and noneconomic damages and                           is   also entitled t0 leasonable attomey                s   fees      and costs pursuant             t0
                                                                                                                                                            I




       Govelnmcnt Code section 12965

                                                              SECOND CAUSE OF ACTION
       RETALIATION                       IN   VIOLATION OF THE FEHA, GOVERNMENT CODE SECTION                                                           12940(h),
                                                     ‘AND 12940030) (SEXUAL ORIENTATION)                                 '




                          (By   PLAINTIFF                as against   EMPLOYER DEFENDANT and DOES                                        l   — 50)

                  36.          PLAINTIFF hereby               incorporates by reference each and every paragraph ofthis complaint,

      as iffully set forth herein.

              "           ‘



                              >The FEHA,‘ Codiﬁed in'Governm'ent
                  37.-                                                                                                                                                      -‘

                                                                 Code §§ 12940(h~)                               e.t'seq.,    makes          it   ﬁhléwful fOr   a'n_
                                                                                                                                                                        '




      cmployen          t0 discximinatc             discharge, 0r retaliate aoainst any          employee on the         basis that the            employee has
      complained about and/01 opposed discnimination. as well as any emplox ee                                        “ho         has plovided assistance

      in   complaining about discrimination.

                  38.         At              times herein mentioned. Government Code
                                        all
                                                                                      §                          12940(k) required                 EMPLOYER
      DEFENDANT t0 take                       all   reasonable steps necessary t0 prevent discrimination                     in   the workplace.

                  39.         Al    all       times herein mentioned. Government                   Code      §   129400) required                  EMPLOYER
     DEFENDANT                 to take         immediate and appropriate corrective action ifthey knew                             01‘   reasonably should

     have known about the discriminatory conduct ot‘CEREGl IINO.

                  40.         During the course 0f PLAINTIFF‘S employment with                                     EMPLOYER DEFENDANT,
     PLAINTIFF was                 subjected t0 discrimination by                CEREGHINO          0n the basis ofher sexual orientation.

                  41.         PLAINTIFF complained                    directly t0 her supervisor at              EMPLOYER DEFENDANT‘S
     workplace about the harassing conduct                          OFCEREGHINO.
               42.            EMPLOYER DEFENDANT took                             adverse actions against         PLAINTIFF.                 including but not

     limited 10 terminating                   PLAINTIFF‘S employment.

     ///




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                                                                            COMPLAINT
                Case 5:22-cv-00270 Document 1-2 Filed 02/11/22 Page 12 of 49 Page ID #:28




                      43.         PLAINTIFF‘S reponing of and complaining about harassment
                                                                                           and seeking                                                corrective

            action    was   a motivating reason for                EMPLOYER DEFENDANT‘S                           decision t0 terminate         PLAINTIFF’S
            employment.

                      44.      As       a   proximate result of the wrongful conduct of                            DEFENDANTS PLAINTIFF                                has
            suffeled and continues t0 sustain substantial losses                              in   earnings and other employment beneﬁts                          in    an

            amount accmdinu            to   proof at the time 0t         tlial.


                      45.      As       a proximate result 0f the wrongful conduct 0f
                                                                                                                   DEFENDANTS, PLAINTIFF                               has

            suffered humiliation, emotional distress. and pain and anguish.
                                                                                                        all t0    PLAINTIFF‘S damage             in   an amount

           according t0 proofat the 'time bftrial.
                                                                                                                                                             '




    10                46.     In       doing the acts herein alleged,                    EMPLOYER DEFENDANT                        acted despicably, with

           oppression, fraud; malice, and              in   conscious disregard              OfPLAINTIFF‘S          rights.   Accordingly,       EMPLOYER
    12     DEFENDANT              is   are liable to    PLAINTIFF             for   exemplary damages appropriate to.punish and make an
-
    13'    "exéﬁiple'6f-EMPLOYERDEFENDANT                                in‘an ambuht'éccording t0 pro'of at              tfial.

    l4               47       The abOve— descn ibed            acts and conduct              bv   EMPLOYER DEFEN DANT proximately caused
           PLAINTIFF damages and                  injury in an       amount         Io   be proven     at trial    PLAINTIFF        ls   entitled t0 recove1

           economic and nonecondmic damages and                          is   also entitled t0 reasonable attorney‘s fees and costs pursuant

           to   Government Code             section 12965.


                                                               THIRD CAUSE OF ACTION
                  FAILURE TO DO EVERYTHING REASONABLY NECESSARY TO PREVENT OR
                      CORRECT DISCRIMINATION AND/OR RETALIATION BASED 0N SEXUAL
                ORIENTATION              IN   VIOLATION OF CALIFORNIA GOVERNMENT CODE                                                        12940
                                                                                                                                         §            (j),       (k)

                            (By   PLAINTIFF As              Against       EMPLOYER DEFENDANT and Does                                1   — 50)

                     48.      PLAINTIFF           re—pleads. re-allcges. and incorporates by reference each and
                                                                                                                every allegation

          set forth in this   Complaint.

                     49.      The FEHA, codiﬁed               in   the   Government Code             section 12940, prohibits an             employer 0r any
          person from discriminating and/or harassing an employee based 0n the employee‘s
                                                                                          sexual orientation.

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                                                                              COMPLAINT
      Case 5:22-cv-00270 Document 1-2 Filed 02/11/22 Page 13 of 49 Page ID #:29

                                                               '               ”                  '




                                                                                                                             Clvs3213053'5
              50.           Government Code Section 12940(k) makes                                                   an unlawful
                                                                                                           it   is                          employment          practice for an

  employer          10 fail to lake all reasonable steps
                                                         necessary t0 prevent discrimination                                                            and   retaliation     from
  occurring.


              5].           EMPLOYER DEFENDANT                                 failed t0 take all                     reasonable steps necessary t0 prevent

  discniminalion and/OI Ielaliation from occurling                                            m
                                                                                    all               violation 0fthe           FEHA
             '52.,
                            PLAINTIFF          is   informed and believes and based thereon alleges that thc decision
                                                                                                                                                                                 t0

  terminate        PLAINTIFF was made                 and/or ratiﬁed by                       DEFENDANTS’                        managing           agents, Ofﬁcers, and/or

  directors        who were          conscious 0f      PLAINTIFF'S                   right to be free                     from discrimination based 0n sexual

'orientation;             but disregarded those Tights and acted                                  wi-th-   the       Vint-ent   'tQ'caLise         PLAINTIFF           injury by

 terminating              PLAINTIFF‘S employment.                       EMPLOYER DEFENDANT’S                                              disregard 0f          PLAINTIFF’S
 statutory rights            is in   violation Ofstatute and public policy and                                  would be looked down 0n and despised by

 reasonable persons.

                     '.
             53:7          :A-s.a direct     and proximate res'un of EMPLOYER
        t-
                                                                                                                     DEFENDANT’s’wmng'fm                          termination?            r




 0f PLAINTIFF S employment PLAFNTIFF has suffered and continues
                                                                                                                                    t_o    sustain substantial losses            m    ‘




                                                                                                                                                                   -   i


 eamihgs and              other    emplm ment       benefits 1n an         amount accordino                          to   proof at        tlial


             54.           As     a direét   and proximate result 0f                  EMPLOYER DEFENDANT‘S                                           wrongful termination

 0f PLAINTIFF‘S employment. PLAINTIFF has suffered humiliation, emotional
                                                                                                                                                    distress.   and pain and

 anguish,     all   t0     PLAINTIFF‘S damage             in       an amount according t0 proofat                                  trial.


             55.           In     doing the acts herein alleged,                     EMPLOYER DEFENDANT                                            acted despicably. with

Oppression. fraud, malice. and in conscious disregard                                     ofPLAINTIFF'S                         rights.     Accordingly.        EMPLOYER
DEFENDANT                   is    liable l0   PLAINTIFF             for    exemplary damages appropriate                                          Io punish     and make an

example       ofEMPLOYER DEFENDANT                                 in   an amount according t0 proofat                                    trial.


             56.           Government Code           section 12965(b) permits the court t0 award reasonable attorneys‘
                                                                                                                       fees

and costs, including expert witness                        fees,          t0    a    plaintiff that                  successfully            pursues a          FEHA        claim.

PLAINTIFF                 has and will continue t0 incur attorneys’ fees                                        in    the pursuit            01‘ this   ac1i0n.        As   such.

PLAINTIFF            is    entillcd t0 an     award ofreasonablc attorneys‘ fees and                                       costs.

///



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                                                                                          0

                                                                          COMPLAINT
          Case 5:22-cv-00270 Document 1-2 Filed 02/11/22 Page 14 of 49 Page ID #:30




                                                                                                    CIVSB 2130585
                                                                 FOURTH CAUSE OF ACTION
                                                    VIOLATION OF LABOR CODE SECTION                        1102.5

                                 (By   PLAINTIFF As             Against   EMPLOYER DEFENDANT and                  Does     l
                                                                                                                               — 50)

                  57.                PLAINTIFF hereby            incorporates by reference each and every paragraph ol‘this
                                                                                                                            complaint,

      as iffully set herein


                  58.                Labo: Code section 1102 S(b) forbids an employer                hom   Ietuliatin" avainst an            employee
      for disclosing information. or                     because the employer believes that Ihc employee disclosed 0r
                                                                                                                      may disclose
      information, to a person with authority over the employee 0r another
                                                                           employee                                 who    has the authority t0
                                                                                                                                                           t


      investigate, discover, 0r correct'the .violatioh                         o'r'
                                                                                      noncompliance, 0r-f0r providing information               t0,   0f

      testifying before,                  any public body conducting         ran   investigation, hearing, 0r inquiry, ifthe       employee has
      reasonable cause t0 believe that the information discloses a violation
                                                                             0f state 0r federal statute, 0r a

      violation        ofor noncompliance with a                  local, state. 0r federal rule 0r regulation.
                                 ‘

            *3
                 59;         x       E.Miﬁ-LOYERDEFENDANI employed PLAINTIFF.

             _
                 6Q.                 PLAINTIFF made            repeated plotected complaints. including scve’nal complaints t0                Human
      Resources about                  DEFENDANTS               tleatment 0f Pl       AIN TIH   including CI   RFGHINO          S discrimination

     against and harassment                       OfPLAINTIFF.

                 61.                 PLAINTIFF had             reasonable cause t0 believe that the intbrmation that                PLAINTIFF
     disclosed t0        EMPLOYER DEFENDANT                              constituted violations oflhe law. such as the California Labor

     Code and          the       FEHA.

                 62.                 On       0r around October 31, 2019.     EMPLOYER DEFENDANT.                acting through        its   Ofﬁcers,

     directors. and/or                managing       agents, terminated     PLAINTIFF‘S employment.

                 63.                 PLAINTIFF’S        disclosure     ofwhat PLAINTIFF reasonably believed          Io   be violations Ofstate

23   laws were contributing factors                       in   EMPLOYER DEFENDANT'S                 decision t0 terminate        PLAINTIFF‘S
24   employment.

25               64.             As       a    proximate result 0f aforementioned adverse employment actions
                                                                                                             by                   EMPLOYER
26   DEFENDANT                       and/or their ofﬁcers, directors. and managing agents.                 PLAINTIFF           has suffered and

     continues t0 sustain substantial losses                      in   earnings and other employment bcncﬁts        in   an amount according

28   t0   proofat the time OfIrial.



                                                                                      I0

                                                                            COMPLAINT
             Case 5:22-cv-00270 Document 1-2 Filed 02/11/22 Page 15 of 49 Page ID #:31




                                                                                                                         CIVSB 2130585
                      65.                    As     a proximate result           01‘
                                                                                       aforenmnioned adverse employment actions by                                        EMPLOYER
         DEFENDANT                                and/or    their     ofﬁcers.         directors.         and    managing agents,            PLAINTIFF                    has    suffered

         humiliation, emotional distress. and pain and anguish.
                                                                                                                   all   t0   PLAINTIFF’S damage                  in        an amount

         according to proofat the time                               ot‘trial.


                      66.                    In   doino the acts herein alleged F,MPl                         OYFR DEFENDANI               acted with oppression {laud

         malice        and              in    conscious dismaald of                PLAINTIFF                  S Iivhts and         PLAINTIFF         is   thuefore entitled t0

         punitive      damages                     1n   an amount according I0 proofat thc time Oftrial.

                      67.                    PLAINTIFF         has also incurred and continues 10 incur attorneys' fees and
                                                                                                                            legal expenses                                              in
    .




        an amount'according t0 proofat the time                                        Oft'rial.    Cal. ‘La'bﬁCode §              102.5.has 'sp'eciﬁcal-Iy been am‘ended
                                                                                                                               l




        t0   allow for attorneys’ fees t0 a plaintiff                                    who       successfully brings a whistleblower claim against their

        employer.

                                                                            FIFTH CAUSE OF ACTION
                                ‘


                                    -

                                        wRONGFUL TERMINATION” INVIOLAT-ION OF-PUBLI'C POLICY                                                                          2




                                (By          PLAINTIFF As               Against         EMPLOYER DEFENDANT and DOES                                        l   — 50)
                            I




                  68.                    Pl       AINTIFF      heleb) incorpmalcs b\ xctmence each and every paraglaph                                            as       if   fully set

-

        herein.


                  69.                    As        set forth herein.       EMPLOYER DEFENDANT                                 wrongfully terminated              PLAINTIFF’S
        employment                      in    Violation      0F various fundamental public policies of the State 0f California. These

        fundamental policies are embodied                                 in.    inter ulia. the Following statutes. codes,                  and regulations: Ca]. Lab.

        Code §§        l   102.5,             I   102.6. the   FEHA.       as well as the various fundamental                        common     laws upheld               in    the State

        of‘California.


                  70.                    PLAINTIFF              is     informed              and    believes        and       thereon     alleges         that    EMPLOYER
        DEFENDANT,                           acting through          managing agents. terminated PLAINTIFF‘S employment                                          in       violation 0f

    the aforementioned fundamental public policies.


                  7   l.                As        a proximate result ofthe              atbrememioned adverse employment actions by                               EMPLOYER
    DEFENDANT against                                    PLAINTIFF. PLAINTIFF                       has suffered and continues t0 sustain substantial losses

    in    earnings and other employment beneﬁts                                         in   am    umoum        according t0 proofat        trial.


    ///




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                                                                                              COX’IPI,.~\I.\"T
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                                                                                                                     CIVSB 2130586
            72.             As         a    proximate     result         0f     EMPLOYER DEFENDANT‘S                                     wrongful    termination    of
    Pl,AlN'l‘IH3”S           employment PLAINTIFF                             has suffered humiliation. emotional distress, and
                                                                                                                                pain and

    anguish.     all t0     PLAINTIFF‘S damage                      in   an amount according t0 proofat                        trial.


            73.                   doing the acts herein alleged.
                            In
                                                                                           EMPLOYER DEFENDANT                               acted despicably. with

    oppressiom r.aud               malice. and Inconsciousdisr‘egald0fPLAlN"TlFF Srights.
                                                                                          Accordingly.                                                EMPLOYFR
    DEFENDANT                is    liable t0       PLAINTIFF              fox   exemplaly damages applopliate                             t0   punish and   make an
 example        ()1       EMPLOYER DEFENDANT                             in   an amount according t0 proofat                       trial.


            74.             PLAINTIFF             has also incurred and continues                    1'0       incur attorneys‘ fees and legal expenses            in

                                                                "
 a‘n   amount according                    IQ pi‘oofat tfial.


                                                            SIXTH CAUSE OF ACTION
                           FAILURE TO PROVIDE PERSONNEL RECORDS UPON REQUEST
                                                 [N   VIOLATION OF CAL. LAB CODE                                        §l 198.5
                "
                          (By‘PLAINTIFF _as Agaihst'EMPLOYERDEFENDANT                                                         'a'n'd
                                                                                                                                       DOES'I' 4'50)

           75._             P_LAINTIFF            rc--pleads    le--a]leges              and Incorpo'lates by reference each and every allegation'

 set forth 1n this (         omplainl.

           76.             Pursuant Io Labor            Code Section
                      I
                                                                                    I   198.5. an   employee "has the                  right t0 inspect 11nd receive

a   copy ofthc personnel records                       that the     employer maintains               relating t0 the           employee’s performance or           t0

any grievance concerning the employee.”

           77.             PLAIN'I‘H’F has requested that                           EMPLOYER DEFENDANT                                 provide   PLAINTIFF     with

PLAINTIFF‘S                personnel records pursuant to Cal. Labor                              Code               198.5.
                                                                                                           §    1




           78.             EMPLOYER DEFENDANT                                 failed t0 provide            PLAINTIFF              with said records within 30

days 01‘1he date ot‘lhe records request and continue t0 deprive                                                PLAINTIFF 0f PLAINTIFF‘S                  personnel

records.    PLAINTIFF                      rcqucstcd   PLAINTIFF’S                  records 0n 0r about August 19. 2021. and 0n 0r about

September           24.    202    l.   but    EMPLOYER DEFENDANT still                              continue t0 ignore                 PLAINTIFF‘S     request and

deprive    PLAINTIFF 01’PLAINT1FF'S                             personnel records.

          79.              Pursuant Io Labor            Code    Section                 198.5(k),   PLAINTIFF
                                                                                l
                                                                                                                         is   entitled t0,     and hereby seeks t0

recover from              [EMPLOYER DEFENDANT.                                a seven-hundrcd—ﬁfty—dollar ($750.00) penalty. reasonable

attorney‘s fees, and the cost ot‘bringing this cause ot‘action.



                                                                                           l’)



                                                                               COMPLAINT
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                                                                                                           CIVSB 21310585
                    80.     PLnsuant t0 Labon            Code                H98
                                                                   Section             S(I).     PLAINT IFF             is   entitled to and         hemby   seeks
L)
      injunctive relief lo obtain compliance with                    Labor Code Section                l   198.5. along with reasonable attorney's

      fees and the costs 0f bringing this cause ofaction.


                                                         SEVENTH CAUSE OF ACTION
                                             CAL. LAB.           CODE   226 —    FAILURE TO PROVIDE
                                         '




                                              EMPLOYMENT RECORDS                            UPON.          REQUEST
                          (By   PLAINTIFF            as Against     EMPLOYER DEFENDANT and DOES                                             1   — 50)

                8    l.     PLAINTIFF           re-pleads, re—alleges, and incorporates by reference each and
                                                                                                              every allegation

      set fortirin this     Complaint.

                82.         Pursuant t0 Labor Code Section 226(b), an employer shall afford current
                                                                                                    and former

     employees the          right t0 inspect 0r           copy records penaining                 10 that current 0r                 former employee, upon

     reasonable request to the employer.

           '




               ~83:       “PLAINTIFF" has requiesfedﬁthatrEMPLOYER                                  DEFENDANT                     previde       PLAINTIFF            -


                                                                                                                                                              with

     PLAINTIFF            S emp-lement records pursuant t0 Labor                     Code      Section 226(b).               EM PLOYER DFFENDANT
     has failed 10 plovide         PLAINTIFF            with said leCOIds    »\   ithin    menh--0ne          (2]   )    daxs      0! the date 0f the    Iecmds
     request and continues t0 deprive                     PLAINTIFF of PLAINTIFF'S employment                                          records.     PLAINTIFF
     requested       PLAINTIFF’S             records on    01'   about August        l9.   202   l.   and on 0r about September 24, 2021, but

     EMPLOYER DEFENDANT still                           continues 10 ignore          PLAINTIFF‘S             request and deprive                  PLAINTIFF 0f
     PLAINTIFF’S personnel               records.


               84.         Pursuant t0 Labor Code Section 226(f) and                        (gr).     PLAINTIFF              is   entitled,     and hereby seeks

     10 recover from        EMPLOYER DEFENDANT                          a seven-hundred-ﬁIiy-dollar ($750.00) penalty, reasonable

     attorney‘s fees, and the cost ofbringing this cause of‘action.


                                                                 PRAYER FOR RELIEF
               WHEREFORE, PLAINTIFF                              prays for reliefand judgment against                             DEFENDANTS            and
     each 0f them, as follows:

               1.          For any and        all   legally applicable penalties;

               2.          For attorneys‘ fees          21nd costs ofsuit.      including buI not limited t0 that recoverable under

     California Labor           Code   section 1102.5 and Cal. Gov‘t              Code      section 12965;



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                                                                       COMPLAINT
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                         3.                    A    declaratory           judgment      that the practices               complained herein are unlawful and             all   other

              proper equitable reliefincluding reinstatement. if‘proper:

                        4.                     An     injunction against               EMPLOYER DEFENDANTS                                   enjoining them, and any and        all

             persons acting                    in   concert with them. from engaging                         in   each of‘the unlawful practices, policies and patterns

             set forth herein:


                        5.                     For   l'estitiltiOIl       t0 the full extent permitted                  by law;

                        6.                     For such general, special. and compensatory damages as
                                                                                                                                              may   be appropriate, including but

             not limited to                all      damages alleged above;
                                           ’



                        7.    .
                                               For past and ﬁxture            lost     income and'beheﬁts;                     -




                        8.                     For emotional distress damages;

                        9.                     For punitive damages: and

                        10.                    For such and Other further                                         law and/or equity, as the
                                                                                           i
                                                                                               relief,       in
                                                                                                                    I
                                                                                                                                                          Coun deems     just or
                                                                                                                           I
                                  :

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         ‘   abpfopriate.             1'




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                                                                                   ~               I

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             DAat'ed:
                        Ocléber 22, 262]                                                                                  Réspeétfully sublﬁitted,

                                                                                                                          JAURIGUE LAW GROUP

                                                                                                                               5Mm DMWW
                                                                                                                          Michael       J.   Jaurigue
                                                                                                                          S.       Sean Shahabi
                                                                                                                          Barbara DuVan-Clarke
                                                                                                                         Attorneys for         PLA INT] FF
                                                                                                                         SAMARA WILHITE




                                                                                                         |   4

                                                                                               COMPLAINT
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                                                                        \4


                                                                        C'VSB 2130586
                             DEMAND FOR JURY TRIAL
       PLAINTIFF   SAMARA WILHITE   requests a   trial   byjury as    10 all causes ol‘aclion.




Dated: October 22. 202]
                                                              Respectfully submitted.

                                                     -

                                                         ‘_   JAURIGUE LAW .GROUP

                                                                5MM DMWW
                                                              Michael J. Jaurigue
                                                              S. Sean Shahabi
                                                              Barbara DuVan~Cla‘rke      _



                                                              Attorneys for'PLAlNTlFF
                                                              SAMARA WILHITE




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                                     COMPLAINT
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               Exhibit                              1
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                                                                                             CtvsB 2                1   sosss
                              COMPLAINT OF EMPLOYMENT DISCRIMINATION
                                  BEFORE THE STATE OF CALIFORNIA
                            DEPARTMENT OF FAIR EMPLOYMENT AND HOUSING
                        Under the    California Fair       Employment and Housing Act
                                        (Gov. Code, § 12900 et seq.)

 In    the Matter of the Complaint of
     Samara      Wilhite                                                                DFEH   N0. 2021   1045157021

                                       Complainant,
vs.


     DURHAM SCHOOL SERVICES,               L.P.
     2601 Navistar      Dr.
     Lisle, IHino'is-60532



     Matthew Cereghino
     2601 Navistar Dr.
     Lisle, Illinois   60532

                                        Respondents



                                                                        '


1.    Respo'nden't      D‘URHAMISCHOOL SERVICES;                 L.P.       is   an employer subject    to-suit   under   th'e‘
California Fair        Employment and Housing Act (FEHA) (Gov. Code, § 12900                     et seq.).


2.Complainant          is   naming Matthew Cereghino        individual as           Co-Respondent(s).

3.    Complainant Samara Wilhite, resides           in   the City of Glendale, State 0f California.



4. Complainant alleges that on or about October 31, 2019, respondent took the
following adverse actions:


Complainant was harassed because of complainant's sex/gender, gender identity or
expression, sexual orientation, association with a member 0f a protected class.


Complainant was discriminated against because                      of complainant's sex/gender,           gender
identity or expression, sexual orientation, association with a member of a protected
                                                                                     class
and as a result of the discrimination was terminated, suspended, denied work opportunities
or assignments.




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                                     Complaint —   DFEH No.      2021 10-75157021

Date    Filed:   October 21, 2021


                                                                                                             DFEHENF      8O RS
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     Complainant experienced           retaliation because complainant reported or resisted any form
     of discrimination or       harassment and as a result was terminated, suspended, denied work
     opportunities or assignments.



     Additional Complaint Details:           RESPONDENT DURHAM SCHOOL SERVICES, L.P.
     (hereinafter,        RESPONDENT      DSS”)hired COMPLAINANT SAMARA WILHITE (hereinafter,
     "COMPLAINANT") as             a bus driver    in     or around     2010 and she was then promoted       to the
     position     o‘f   dispatcher sometime in     o_r    around   20.16.


    On or around January, 2018, COMPLAINANT, a woman, began dating one of her co—
    workers, Lupe Chavez, who is also a woman. One 0f COMPLAINANT'S supervisors,
     RESPONDENT MATTHEW CEREGHINO                              (hereinafter,   "RESPONDENT CEREGHINO"),
    learned of          COMPLAINANT'S             Lupe Chavez sometime thereafter in 2018.
                                          reiationship with
    Upon        learning of   COMPLAINANT and Lupe
                                                Chavez’s relationship, RESPONDENT
                                                                                                                    _


    CEREGHINO began singlingCOMPL‘AINANT out and began a campaign of h'ara'ssment,
                                                                                                                        V




    discrimination and retaliation against COMPLAINANT on the basis of her sexual
                                                                                  orientation.

    During       this time,   COMPLAINANT and RESPONDENT CEREGHINO were aware                               of
    heterosexual relationships between      RESPONDENTS’ employees. However,
    RESPONDENT CEREGHINO’S knowledge of these heterosexual employee relationships
             RESPONDENT CEREGHINO’S treatment of those same employees:
    did not affect


    Pr‘ior‘to    RESPONDENT         CEREGHI'N‘O           Ieérhirig     of'co'MPLAINANT's    relétidns'hi’p‘with ’Lu‘pe'
    Chavez, COMPLAINANT and RESPONDENT CEREGHINO had a cordial and professional
'
    working relationship. Itlwas only after RESPONDENT CEREGHINO learned of                                                 -




    COMPLAINANT'S                      Lupe Chavez that hisfreatment of her changed.‘ In
                               relationship with
    response,       RESPONDENT CEREGHINO    began increasing COMPLAINANT'S work-Ioad by
    up t0 200% when compared to what was prior-to RESPONDENT CEREGHINO learningof
                                                     it


    COMPLAINANT'S same-sex relationship with Lupe Chavez and when compared with other,
    heterosexual employees in her position.

    On     or             10, 2018, COMPLAINANT reported RESPONDENT CEREGHINO’S
                around August
    discriminatory treatment of PLAINTIFF t0 her supervisor, Amber Judd in Human Resources
    via email.  COMPLAINANT also called Amber Judd a few times and left a voicemail.
    However,        CLAIMANT
                           never received a response from Amber Judd. On 0r around August
    29, 2018} after Amber Judd failed to respond t0 her complaint, COMPLAINANT sent an
    email t0 Derrick Petersen, Amber Judd’s supervisor, to request a meeting to discuss her
    ongoing complaints regarding RESPONDENT CEREGHINO’s harassment and
    discrimination of         COMPLAINANT. COMPLAINANT'S                      complaints were ignored by
    RESPONDENTS               and nothing was ever done            in   response.

    Sometime   in or around late October, 2019, RESPONDENT CEREGHINO
                                                                              claimed to have
    received an email from the transportation department purportedly reporting that
    COMPLAINANT      had a bad attitude and placed                      COMPLAINANT    on administrative leave
    pending an investigation.


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                                         Complaint —        DFEH No.      2021 10—75157027

    Date   Filed:   October 21, 2021


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                    About one week         later,   on or around October 31, 2019,    RESPONDENTS   terminated
                    COMPLAINANT'S employment.




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                                                         Complaint —   DFEH NO.   2021 1045157021
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                    Date   Fiied:   October 21, 2021
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                                                          Case 5:22-cv-00270 Document 1-2 Filed 02/11/22 Page 24 of 49 Page ID #:40




                                                           VERIFICATION

                                                           I, Michael Jaurigue, am the Attorney in the above-entitled complaint. have read     |




                                                           the foregoing complaint and know the contents thereof. The matters alleged are
                                                           based on information and belief, which believe to be true.
                                                                                                             I




                                                           On October         21, 2021, Ideclare    under penalty of perjury under the laws of the State of
                                                          California that the foregoing        is      and correct.
                                                                                                    true
                                      oco'ooxjoumhooM—x




                                                                                                                                            Glendale,    CA




NMNNMMNMN—x—x—x—x—AA—v—x—x—x




                         ooxxmanwM—xocoooxloamhmw—s




                                                                                                                 -4-
                                                                                             Complaint —   DFEH N0.    2021 10-15757021

                                                          Date   Filed:   October 21, 2021


                                                                                                                                                   DFEH-ENF 80 RS
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               Exhibit 2
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                                                                                                                 ,     7,   ,
                                                                                                                                ,   ,                    GAVW NEWSOM GOVERNOR
            ’




                ‘3)“
                         DEPARTMENT 0F FAIR EMPLOYMENT & HOUSING                                                                                             “EV'NK'SH D'RECTOR
                    V;   2218 Kausen Drive Suite 100 Elk Grove CA 95758
                                                          |          |       |




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      '



          $4.4"          (800) 884- 1684 (Voice)| (800) 700- 2320 ()TTY )| California s Relay Service   a1       711
                /        http. //‘www dfeh ca. gov Ema'l: contact. center@dfeh. ca. gov
                                                     |




           October 21, 2021

           Samara Wilhite
           300 W. Glenoaks   Blvd., Ste 300
           Glendale, California 91202


           RE:           hNotic'e ofCaseCIosure and Right to Sue
                         DFEH   Matter Number: 2021 10-15157021
                         Right to Sue: Wilhite / Durham School Services, LP. et                                                         al.



           Dear Samara              Wilhite:

                                                                                                                                                                            ~




           This lettéFinforms'yo'u that                       th‘e
                                        above—referenced complaint filed with the Department of
           Fair Employment and Housing (DFEH) has been closed effective October 21, 2021
           because an immediate Right to Sue notice was requested.

           Thisletter is also your Right to Sue notice. According to Government Code section
           12965, subdivision (b), a civil action may be brought under the provisions ofthe Fair
           Employment and Housing Act against the person, employer,- labor. organization or                                                                         .
                                                                                                                                                                        ,
                                                                                                                                                                            .
                                                                                                                                                                                    -.
                                                                                                                                                                                ‘




           employment agency named in the above— referenced complaint. The Civil action must be
           filed within one year from the date of this letter.


           This matter  may qualify for DFEH s Small Empioyer Family Leave Mediation pilot
           program Under this program established under Government Code section 12945. 21, a
           small employer with 5 -19 employees, charged with violation of the California Family
           Rights Act, Government Code section 12945.2, has the right to participate in DFEH’s
           free voluntary mediation service. Under this program both the employee requesting an
           immediate right to sue and the employer charged with the violation may request that all
           parties participate              in       DFEH’s     free voluntary mediation service.                                       A   request for mediation
           must be submitted to the DFEH within 30 days of receipt of the Notice of Case Closure
           and Right to Sue. If mediation is requested, the employee is prohibited from filing a Civil
           action until mediation is complete. The employee’s statute of limitations to file a Civil
           action, including for all related claims not arising under section 12945.2, is tolled from
           DFEH’s receipt of a mediation request under section 12945.21 until mediation is
           complete. To request DFEH Small Employer Family Leave Mediation, email
           DRDOnlinerequests@dfeh.Ca.gov and include the DFEH matter number indicated on
          the Right to           Sue     notice.


          To obtain a federal Right to Sue notice, you must contact the U.S. Equal Employment
          Opportunity Commission (EEOC) to file a complaint within 3O days of receipt of this
          DFEH Notice of Case Closure or within 300 days of the alleged discriminatory act,
          whichever           is earlier.



          Sincerely,




                                                                                                                                                        DFEH-ENF 8O RS
      Case 5:22-cv-00270 Document 1-2 Filed 02/11/22 Page 27 of 49 Page ID #:43
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                                                                                                          GAVIN   NEWSOM GQyEBUQB
                                                                                                                  KEVIN             DIRECTOR
                  DEPARTMENT 0F FAIR EMPLOYMENT & HOUSING                                                                 KI S H.


                  2218 Kausen Drive, Suute 100 Elk Grove CA 95758
                                                   l     l    I




                  (800) 884-1684 (Voice) (800) 7002320 (TTY) California's Relay Service
                                              I               I                           at   711
                  httpz/lwwwdfehcagov Emav" contacmemer@dfeh.ca.gov
                                          |




      Department          of Fair     Employment and Housing




                                                                                                          DFEH-ENF        80   RS
Case 5:22-cv-00270 Document 1-2 Filed 02/11/22 Page 28 of 49 Page ID #:44




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Case 5:22-cv-00270 Document 1-2 Filed 02/11/22 Page 29 of 49 Page ID #:45




                     EXHIBIT B
Case 5:22-cv-00270 Document 1-2 Filed 02/11/22 Page 30 of 49 Page ID #:46
Case 5:22-cv-00270 Document 1-2 Filed 02/11/22 Page 31 of 49 Page ID #:47




                     EXHIBIT C
Case 5:22-cv-00270 Document 1-2 Filed 02/11/22 Page 32 of 49 Page ID #:48
Case 5:22-cv-00270 Document 1-2 Filed 02/11/22 Page 33 of 49 Page ID #:49




                     EXHIBIT D
Case 5:22-cv-00270 Document 1-2 Filed 02/11/22 Page 34 of 49 Page ID #:50
Case 5:22-cv-00270 Document 1-2 Filed 02/11/22 Page 35 of 49 Page ID #:51




                      EXHIBIT E
Case 5:22-cv-00270 Document 1-2 Filed 02/11/22 Page 36 of 49 Page ID #:52
Case 5:22-cv-00270 Document 1-2 Filed 02/11/22 Page 37 of 49 Page ID #:53
Case 5:22-cv-00270 Document 1-2 Filed 02/11/22 Page 38 of 49 Page ID #:54
Case 5:22-cv-00270 Document 1-2 Filed 02/11/22 Page 39 of 49 Page ID #:55




                      EXHIBIT F
                Case 5:22-cv-00270 Document 1-2 Filed 02/11/22 Page 40 of 49 Page ID #:56
                                                                                                                                                      POS-015
ATTORNEY OR PARTY WITHOUT ATTORNEY:                      STATE BAR NO:                                                       FOR COURT USE ONLY
NAME: Michael J. Jaurigue (SBN 2018123); S. Sean Shahabi (SBN 204710); Barbara DuVan-Clarke (SBN 259268)
FIRM NAME:JAURIGUE LAW GROUP
STREET ADDRESS: 300 W. Glenoaks Blvd., Ste 300
CITY: Glendale                                                 STATE:     CA     ZIP CODE: 91202
TELEPHONE NO.: 818-630-7280                                   FAX NO. :    888-879-1697
E-MAIL ADDRESS: service@jlglawyers.com; michael@jlglawyers.com; sean@jlglawyers.com; barbara@jlglawyers.com

ATTORNEY FOR (Name):      Samara Wilhite
SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN BERNARDINO
 STREET ADDRESS:       247 W. 3rd St.
 MAILING ADDRESS:      Same as above
CITY AND ZIP CODE:      San Bernardino, 92415
     BRANCH NAME:      San Bernardino Justice Center
        Plaintiff/Petitioner: Samara Wilhite
Defendant/Respondent: Durham School Services, L.P., et al.
                                                                                                              CASE NUMBER:
                NOTICE AND ACKNOWLEDGMENT OF RECEIPT—CIVIL                                                    CIVSB2130586


TO (insert name of party being served): Durham School Services, L.P.

                                                                               NOTICE
     The summons and other documents identified below are being served pursuant to section 415.30 of the California Code of Civil
     Procedure. Your failure to complete this form and return it within 20 days from the date of mailing shown below may subject you
     (or the party on whose behalf you are being served) to liability for the payment of any expenses incurred in serving a summons
     on you in any other manner permitted by law.
     If you are being served on behalf of a corporation, an unincorporated association (including a partnership), or other entity, this
     form must be signed by you in the name of such entity or by a person authorized to receive service of process on behalf of such
     entity. In all other cases, this form must be signed by you personally or by a person authorized by you to acknowledge receipt of
     summons. If you return this form to the sender, service of a summons is deemed complete on the day you sign the
     acknowledgment of receipt below.


Date of mailing: January 13, 2022


                                    Drew Aron
                                 (TYPE OR PRINT NAME)                                                (SIGNATURE OF SENDER—MUST NOT BE A PARTY IN THIS CASE)



                                                         ACKNOWLEDGMENT OF RECEIPT
This acknowledges receipt of (to be completed by sender before mailing):

1.           A copy of the summons and of the complaint.
2.           Other (specify):

             1) Summons, 2) Complaint, 3) Civil Case Cover Sheet, 4) Certificate of Assignment and 5) Notice of Trial Setting
             Conference.


(To be completed by recipient):

Date this form is signed: January 13, 2022

 Katessa M. Charles
               (TYPE OR PRINT YOUR NAME AND NAME OF ENTITY, IF ANY,                             (SIGNATURE OF PERSON ACKNOWLEDGING RECEIPT, WITH TITLE IF
                      ON WHOSE BEHALF THIS FORM IS SIGNED)                                   ACKNOWLEDGMENT IS MADE ON BEHALF OF ANOTHER PERSON OR ENTITY)




                                                                                                                                                          Page 1 of 1

Form Adopted for Mandatory Use
Judicial Council of California
                                         NOTICE AND ACKNOWLEDGMENT OF RECEIPT — CIVIL                                                         Code of Civil Procedure,
                                                                                                                                                   §§ 415.30, 417.10
POS-015 [Rev. January 1, 2005]                                                                                                                  www.courtinfo.ca.gov
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                     EXHIBIT G
       Case 5:22-cv-00270 Document 1-2 Filed 02/11/22 Page 42 of 49 Page ID #:58


 1   Katessa M. Charles (SBN 146922)
     JACKSON LEWIS P.C.
 2   725 S Figueroa Street, Suite 2500
     Los Angeles, CA 90017
 3   Phone: (213) 689-0404
     Fax:    (213) 689-0430
 4   Katessa.Charles@jacksonlewis.com

 5   Stephanie J. Tañada (SBN 257769)
     JACKSON LEWIS P.C.
 6   200 Spectrum Drive, #500
     Irvine, CA 92618
 7   Phone: (949) 885-1360
     Fax: (949) 885-1380
 8   Stephanie.Tanada@jacksonlewis.com

 9   Attorneys for Defendant
     DURHAM SCHOOL SERVICES, L.P.
10

11                        SUPERIOR COURT OF THE STATE OF CALIFORNIA
                              FOR THE COUNTY OF SAN BERNARDINO
12

13   SAMARA WILHITE,                                      Case No. CIVSB2130586

14                         Plaintiff,                     [Assigned For All Purposes to the
                                                          Hon. Bryan Foster, Dept. S22]
15          vs.
                                                          ANSWER OF DEFENDANT DURHAM
16   DURHAM SCHOOL SERVICES, L.P.; and                    SCHOOL SERVICES, L.P. TO PLAINTIFF’S
     DOES 1 through 50, inclusive,                        COMPLAINT
17

18                         Defendants.
                                                          Complaint: October 22, 2021
19                                                        Trial Date: Not Set

20

21          TO THE HONORABLE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:

22          Defendant Durham School Services, L.P.”) on behalf of itself and for no other defendant, hereby

23   responds to the Complaint for Damages (“Complaint”) filed by Plaintiff Samara Wilhite (“Plaintiff”) and

24   admit, deny and otherwise plead as follows:

25                                            GENERAL DENIAL

26          Pursuant to the California Code of Civil Procedure section 431.30(d), Defendant denies generally

27   and specifically each and every allegation contained in the Complaint and deny that Plaintiff has suffered

28   any injury or been damaged in any sum whatsoever.


                                              1
             ANSWER OF DEFENDANT DURHAM SCHOOL SERVICES, L.P. TO PLAINTIFF’S COMPLAINT
       Case 5:22-cv-00270 Document 1-2 Filed 02/11/22 Page 43 of 49 Page ID #:59


 1                                         AFFIRMATIVE DEFENSES

 2          As separate and distinct affirmative defenses to Plaintiff’s Complaint and the causes of action

 3   alleged therein, and to each of them, Defendant alleges as follows:

 4                                     FIRST AFFIRMATIVE DEFENSE

 5                                     (Failure to State a Cause of Action)

 6          Plaintiff’s Complaint as a whole, and each purported cause of action alleged therein, fails to state

 7   facts sufficient to constitute a cause of action against Defendants upon which relief may be granted.

 8                                    SECOND AFFIRMATIVE DEFENSE

 9                                              (Business Judgment)

10          Defendant alleges that it acted reasonably and in good faith based on all relevant facts and

11   circumstances known at the time, and that all actions taken with regard to Plaintiff were taken for

12   legitimate, good faith, and non-discriminatory/non-retaliatory business reasons.

13                                    SECOND AFFIRMATIVE DEFENSE

14                                    (Workers’ Compensation Preemption)

15          To the extent Plaintiff’s Complaint, or any purported cause of action therein, alleges emotional or

16   physical injury, this Court lacks jurisdiction, and any recovery is barred by the exclusivity of remedy under

17   the California Workers’ Compensation Act, Labor Code section 3600, et seq.

18                                     THIRD AFFIRMATIVE DEFENSE

19                                          (After Acquired Evidence)
20          To the extent discovery may disclose information which could serve as a basis for the termination

21   of Plaintiff’s employment, Plaintiff is barred from recovery by the after-acquired evidence doctrine.

22                                    FOURTH AFFIRMATIVE DEFENSE

23                                            (Statutes of Limitation)

24          Any recovery on Plaintiff’s Complaint is barred by the applicable statutes of limitation, including,

25   but not limited to, California Code of Civil Procedure sections 335.1 and 343, and California Government

26   Code sections 12940, 12960 and 12965.

27   ///

28   ///


                                               2
              ANSWER OF DEFENDANT DURHAM SCHOOL SERVICES, L.P. TO PLAINTIFF’S COMPLAINT
       Case 5:22-cv-00270 Document 1-2 Filed 02/11/22 Page 44 of 49 Page ID #:60


 1                                     FIFTH AFFIRMATIVE DEFENSE

 2                                          (Avoidable Consequences)

 3          Plaintiff’s allegations of discrimination and retaliation are barred and/or any recovery of damages

 4   is precluded because Plaintiff unreasonably failed to take advantage of available preventive or corrective

 5   opportunities or to avoid harm otherwise. State Dept. of Health Servs. v. Superior Court of Sacramento

 6   County (McGinnis) (2000) 31 Cal.4th 1026.

 7                                     SIXTH AFFIRMATIVE DEFENSE

 8                                        (Exercise of Reasonable Care)

 9          Any recovery on Plaintiff’s Complaint, or any purported cause of action alleged therein, is barred

10   in whole or in part because Defendant exercised reasonable care to prevent and correct promptly any

11   alleged harassing, discriminatory or retaliatory behavior.

12                                   SEVENTH AFFIRMATIVE DEFENSE

13                                    (Effective Employer Policies In Place)

14          Defendant alleges that at all times as set forth in Plaintiff’s Complaint, Plaintiff’s employer had in

15   place legitimate and effective anti-harassment, anti-retaliation, and anti-discrimination policies.

16                                    EIGHTH AFFIRMATIVE DEFENSE

17                                            (Managerial Immunity)

18          Any injuries Plaintiff allegedly sustained as a result of any action by a management employee of

19   Plaintiff’s employer are barred by the doctrine of managerial immunity.
20                                     NINTH AFFIRMATIVE DEFENSE

21                                (Privileged, Good Faith & Justified Conduct)

22          Any recovery on Plaintiff’s Complaint is barred because Defendant’s conduct was privileged

23   and/or justified under California law and for valid business reasons.

24                                    TENTH AFFIRMATIVE DEFENSE

25                                      (Legitimate Business Justification)

26          Any recovery on Plaintiff’s Complaint, or any purported cause of action alleged therein, is barred

27   because, assuming arguendo that discriminatory reasons had been a motivating factor in any employment

28   decisions toward Plaintiff, Plaintiff’s employer would have made the same employment decisions toward


                                               3
              ANSWER OF DEFENDANT DURHAM SCHOOL SERVICES, L.P. TO PLAINTIFF’S COMPLAINT
       Case 5:22-cv-00270 Document 1-2 Filed 02/11/22 Page 45 of 49 Page ID #:61


 1   Plaintiff in any case for legitimate, non-discriminatory business reasons.

 2                                  ELEVENTH AFFIRMATIVE DEFENSE

 3                                    (Failure to Perform Responsibilities)

 4          Any recovery on Plaintiff’s Complaint, or any purported cause of action alleged therein, is barred

 5   by Plaintiff’s failure to satisfactorily perform her job responsibilities and otherwise conduct herself in

 6   accordance with the standards and policies of her employer.

 7                                  TWELFTH AFFIRMATIVE DEFENSE

 8                                              (Equitable Doctrines)

 9          Any recovery on Plaintiff’s Complaint, or any purported cause of action alleged therein, is barred

10   under the equitable doctrines of consent, waiver, estoppel and unclean hands.

11                                THIRTEENTH AFFIRMATIVE DEFENSE

12                                                    (Laches)

13          Any recovery on Plaintiff’s Complaint, or any purported cause of action alleged therein, is barred

14   in that Plaintiff was guilty of laches and unreasonable delay in bringing this action and in asserting any

15   claim for relief against Defendants.

16                                FOURTEENTH AFFIRMATIVE DEFENSE

17                                              (Contributory Fault)

18          Any recovery on Plaintiff’s Complaint, or any purported cause of action alleged therein, is barred

19   in whole or in part by Plaintiff’s own contributory and/or comparative fault.
20                                 FIFTEENTH AFFIRMATIVE DEFENSE

21                                          (Failure to Mitigate Damages)

22          Plaintiff is barred from recovering any damages, or any recovery must be reduced, by virtue of

23   Plaintiff’s failure to exercise reasonable diligence to mitigate her alleged damages.

24                                 SIXTEENTH AFFIRMATIVE DEFENSE

25                                                    (Offset)

26          Any recovery on Plaintiff’s Complaint, or any purported cause of action alleged therein, is barred

27   in whole or in part because Defendant is entitled to an offset for any monies Plaintiff received from any

28   source after Plaintiff ceased to be employed under the doctrine prohibiting double recovery set forth by


                                               4
              ANSWER OF DEFENDANT DURHAM SCHOOL SERVICES, L.P. TO PLAINTIFF’S COMPLAINT
       Case 5:22-cv-00270 Document 1-2 Filed 02/11/22 Page 46 of 49 Page ID #:62


 1   Witt v. Jackson (1961) 57 Cal.2d 57 and its progeny.

 2                                SEVENTEENTH AFFIRMATIVE DEFENSE

 3                                             (No Punitive Damages)

 4          Plaintiff’s claims for exemplary and punitive damages are barred in that Plaintiff has failed to raise

 5   sufficient allegations of malice, oppression or fraud and has failed to raise sufficient allegations to comply

 6   with the requirements of California Civil Code section 3294.

 7                                 EIGHTEENTH AFFIRMATIVE DEFENSE

 8                                     (Punitive Damages Unconstitutional)

 9          Although Defendant denies that it has committed or has responsibility for any act that could

10   support the recovery of punitive damages in this lawsuit, if any, to the extent any such act is found,

11   recovery of punitive damages against Defendant is unconstitutional under numerous provisions of the

12   United States Constitution and the California Constitution.

13                                 NINETEENTH AFFIRMATIVE DEFENSE

14                                (Failure to Exhaust Administrative Remedies)

15          Defendant alleges that Plaintiff’s claims brought under the Fair Employment and Housing Act are

16   barred because Plaintiff has failed to exhaust her administrative remedies.

17                                 TWENTIETH AFFIRMATIVE DEFENSE

18                                     (Non-Joinder/Misjoinder of Parties)

19          Defendant alleges that Plaintiff has misjoined or failed to join all potentially responsible parties
20   necessary for a full and just adjudication of the purported claims asserted in the Complaint.

21                               TWENTY-FIRST AFFIRMATIVE DEFENSE

22                                          (Attorneys’ Fees and Costs)

23          Defendant has engaged attorneys to represent it in defense of Plaintiff’s frivolous, unfounded and

24   unreasonable action, and Defendant is thereby entitled to an award of reasonable attorneys’ fees and costs

25   pursuant to Government Code section 12965 upon judgment in its favor.

26                               TWENTY-THIRD AFFIRMATIVE DEFENSE

27                                      (Defendant Took Immediate Steps)

28          Defendant alleges that, to the extent Plaintiff complained to Defendant about alleged unlawful


                                               5
              ANSWER OF DEFENDANT DURHAM SCHOOL SERVICES, L.P. TO PLAINTIFF’S COMPLAINT
       Case 5:22-cv-00270 Document 1-2 Filed 02/11/22 Page 47 of 49 Page ID #:63


 1   treatment, Defendant took immediate and adequate steps to investigate Plaintiff's complaints and to

 2   otherwise take appropriate corrective action.

 3                             TWENTY-SECOND AFFIRMATIVE DEFENSE

 4                                      (Additional Affirmative Defenses)

 5          Plaintiff’s Complaint contains insufficient facts for Defendant to assess all affirmative defenses

 6   available to them. Defendant reserves the right to amend this Answer and add additional defenses or

 7   counterclaims that may become known during litigation.

 8          WHEREFORE, Defendant prays for judgment as follows:

 9          1.      That Plaintiff take nothing herein;

10          2.      For reasonable attorney’s fees pursuant to California Government Code section 12965;

11          3.      For costs of suit herein; and

12          4.      For such other and further relief as the Court may deem just and proper.

13

14   DATED: February 8, 2022                         JACKSON LEWIS P.C.

15

16
                                                     By:
17                                                         Katessa M. Charles
                                                           Stephanie J. Tañada
18
                                                           Attorneys for Defendant
19                                                         DURHAM SCHOOL SERVICES, L.P.
20

21

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                                              6
             ANSWER OF DEFENDANT DURHAM SCHOOL SERVICES, L.P. TO PLAINTIFF’S COMPLAINT
        Case 5:22-cv-00270 Document 1-2 Filed 02/11/22 Page 48 of 49 Page ID #:64


 1                                             PROOF OF SERVICE

 2   CALIFORNIA SUPERIOR COURT, COUNTY OF SAN BERNARDINO

 3   CASE NAME: SAMARA WILHITE V. DURHAM SCHOOL SERVICES, L.P., et al.

 4   CASE NO.:              CIVSB2130586

 5           I am employed in the County of Orange, State of California. I am over the age of 18 and not a
     party to the within action; my business address is 200 Spectrum Center Drive, Suite 500, Irvine, California
 6   92618.

 7            On February 8, 2022, I served the foregoing document described as:

 8         ANSWER OF DEFENDANT DURHAM SCHOOL SERVICES, L.P. TO PLAINTIFF’S
                                   COMPLAINT
 9
     in this action by transmitting a true copy thereof enclosed in a sealed envelope addressed as follows:
10
       Michael J. Jaurigue, Esq.                        Attorneys for Plaintiff
11     S. Sean Shahabi, Esq.                            SAMARA WILHITE
       Barbara DuVan-Clarke, Esq.
12     JAURIGUE LAW GROUP                               Phone:    818-630-7280
       300 West Glenoaks Boulevard, Suite 300           Fax:      888-879-1697
13     Glendale, CA 91202                               E-Mail:       sean@jlglawyers.com
14                                                      barbara@jlglawyers.com
                                                        michael@jlglawyers.com
15                                                      genicis@jlglawyers.com
                                                        drew@jlglawyers.com
16                                                      service@jlglawyers.com
17

18   [X]      BY E-MAIL OR ELECTRONIC TRANSMISSION - Based on a Court order or on an
              agreement by the parties to accept service by e-mail or electronic transmission, I caused the
19            document(s) described above to be sent from e-mail address carolina.rangel@jacksonlewis.com to
              the persons at the e-mail address listed above. I did not receive, within a reasonable time after the
20            transmission, any electronic message or other indication that the transmission was unsuccessful.

21
     [X]      STATE - I declare under penalty of perjury under the laws of the State of California that the
22            above is true and correct.

23
              Executed February 8, 2022 at Irvine, California.
24

25
                                                                    Carolina Rangel
     4872-9132-8265, v. 1
26

27

28



                                                  PROOF OF SERVICE
       Case 5:22-cv-00270 Document 1-2 Filed 02/11/22 Page 49 of 49 Page ID #:65


 1                                     PROOF OF SERVICE
 2   CASE NAME:             SAMARA WILHITE v. DURHAM SCHOOL SERVICES, L.P.
 3   CASE NUMBER: 5:22-cv-270
 4          I am employed in the County of Orange, State of California. I am over the age of
 5   18 and not a party to the within action; my business address is: 200 Spectrum Center Drive,
     Suite 500, Irvine, California 92618.
 6
            On February 11, 2022, I served the foregoing document described as:
 7
      DECLARATION OF STEPHANIE J. TAÑADA IN SUPPORT OF DEFENDANT
 8     DURHAM SCHOOL SERVICES, L.P.’S NOTICE OF REMOVAL OF ACTION
     TO THE UNITED STATES DISTRICT COURT FOR THE CENTRAL DISTRICT
 9           OF CALIFORNIA PURSUANT TO 28 U.S.C. §§ 1332, 1441, AND 1446
                                            (DIVERSITY)
10   in this action by transmitting a true copy thereof enclosed in a sealed envelope addressed
     as follows:
11

12    Michael J. Jaurigue                            Attorneys for Plaintiff
      S. Sean Shahabi                                Samara Wilhite
13    Barbara DuVan-Clarke                           Phone: 818-630-7280
14    300 West Glenoaks Boulevard, Suite 300         Fax: 818-879-1697
      Glendale, CA 91202                             Email: sean@jlglawyers.com
15                                                   barbara@jlglawyers.com
16                                                   michael@jlglawyers.com
                                                     genicis@jlglawyers.com
17    E-service Agreement 1.13.22                    drew@jlglawyers.com
18                                                   service@jlglawyers.com
19   [X]    BY E-MAIL OR ELECTRONIC TRANSMISSION - Based on a Court order or
20
            on an agreement by the parties to accept service by e-mail or electronic transmission,
            I caused the document(s) described above to be sent from e-mail address
21
            carolina.rangel@jacksonlewis.com to the persons at the e-mail address listed above.
            I did not receive, within a reasonable time after the transmission, any electronic
22
            message or other indication that the transmission was unsuccessful.

23
     [X]    FEDERAL - I declare under penalty of perjury under the laws of the State of
            California and the United States that the foregoing is true and correct, and that I am
24
            employed in the office of a member of the bar of this Court at whose direction the
            service was made.
25          Executed on February 11, 2022, at Irvine, California.
26

27                                                        ________________________
                                                               Carolina Rangel
28
     4868-4598-0172, v. 1



                                                                                 PROOF OF SERVICE
